Filed 03/31/16                                    Case 15-14228                                                 Doc 82


                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF CALIFORNIA
                                           CIVIL MINUTES


    Case Title :         Oscar Gutierrez                                   Case No : 15−14228 − B − 13
                                                                              Date : 03/31/2016
                                                                              Time : 01:30

    Matter :             [73] − Amended Motion/Application by Cynthia A. Arroyo to Withdraw as Attorney
                         [CAA−2]. 70 Motion/Application to Withdraw as Attorney Filed by Creditor Carlos
                         Garcia (bres)


    Judge :              Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
    Department :         B                                              Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None



    HEARING was :




    The motion was denied without prejudice. The motion did not include evidence required by LBR 2017−1(e).
    The moving papers did not include an affidavit stating the current or last known address or addresses of the
    client and the efforts made to notify the client of the motion to withdraw except an unverified allegation that
    Mr. Garcia did not object to the withdrawal. The record shows that notices mailed to the client at the
    address used for service of this motion were returned to the court as undeliverable.

    The court will issue a civil minute order
